   19-13895-jlg      Doc 284-1 Filed 07/02/20 Entered 07/02/20 11:35:24               Exhibit
                       document production cover letter Pg 1 of 2
                               POLLOCK | COHEN                   LLP
                                   60 BROAD STREET, 24TH FLOOR
                                    NEW YORK, NEW YORK 10004
                                          (212) 337-5361
CONTACT:
Adam Pollock
Adam@PollockCohen.com
(646) 290-7251

                                          June 22, 2020
VIA EMAIL
Rocco A. Cavaliere, Esq.                         Yann Geron, Esq.
Tarter Krinsky & Drogin LLP                      Reitler Kailas & Rosenblatt LLC
1350 Broadway                                    885 Third Avenue, 20th Floor
New York, NY 10018                               New York, NY 10022
email: RCavaliere@TarterKrinsky.com              email: ygeron@reitlerlaw.com

Andrew R. Kurland, Esq.
Kasowitz Benson Torres LLP
1633 Broadway
New York, NY 10019
email: AKurland@kasowitz.com

               Re:    Orly Genger, no. 19-13895 (JLG)

Dear Rocco, Yann, and Andrew:

      As you know, we represent the Orly Genger 1993 Trust (“Orly Trust”), by its trustee
Michael Oldner. We enclose for production documents Bates-labeled OGT_00000001 through
OGT_00005552.

        We are making this production following the meet and confer calls that I had with all
three of you last Monday, June 15, 2020 and Thursday, June 18, 2020, Andrew’s email dated
June 18, 2020, and the call that I had with Rocco on Friday, June 19, 2020. Specifically, we are
producing:

   •   responsive, non-privileged documents within categories 17, 35, and 47 of Kasowitz’s
       Requests, as stated in our responses and objections dated June 17, 2020 to Kasowitz’s
       PDF directed to the Orly Trust;

   •   responsive, non-privileged documents within categories 2, 12, 19, and 52 of the Trustee’s
       Requests, as stated in our responses and objections dated June 17, 2020 to the Trustee’s
       PDF as directed to the Orly Trust; and

   •   responsive, non-privileged documents within categories 18, 40, and 52 of the Debtor’s
       Requests, as stated in our responses and objections dated June 17, 2020 to the Debtor’s
       PDF directed to the Orly Trust.

         We are expressly making this production subject to, preserving, and without prejudice to
all of our objections as stated in the responses and objections, without prejudice to our pending
   19-13895-jlg    Doc 284-1 Filed 07/02/20 Entered 07/02/20 11:35:24                   Exhibit
                       document production cover letter Pg 2 of 2
Rocco A. Cavaliere, Esq.
Yann Geron, Esq.
Andrew R. Kurland, Esq.
June 22, 2020
Page 2 of 2


motion to quash (E.D. Ar. 4:20-mc-00008), without waiver of privilege, etc. We expressly reserve
the right to clawback any inadvertently produced privileged materials.

        We note further that we have a small number of materials produced in the Manhattan
Safety Maine v. Bowen et al. matter that are arguably responsive to these categories but were marked
confidential in that action. Please let me know if you would like me to reach out to the Brosers’
attorney and to Arie Genger’s attorney to see if they’ll waive confidentiality as it relates to these
matters.

       Finally, please contact me to discuss setting up the remote deposition of the Orly Trust
for Thursday.

                                                      Sincerely,

                                                       /s/ Adam Pollock

                                                      Adam Pollock

Enclosures




                              POLLOCK | COHEN                        LLP
